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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                      CENTRAL DIVISION at LEXINGTON

                                       )
                                       )           MDL No. 1877
                                       )             ALL CASES
IN RE CLASSICSTAR MARE LEASE           )
LITIGATION                             )           Master File:
                                       ) Civil Action No. 5:07-cv-353-JMH
                                       )
                                       )               ORDER




                                   *** *** ***

      Upon its own motion and noting that there was an error in the

Interim Practice and Procedure order dated October 22, 2007 [Record

No. 2],

      IT IS ORDERED,

      (1)   That Paragraph 14 of the Interim Practice and Procedure

Order shall be and the same hereby is AMENDED to reflect that the

Court will be guided by the Manual for Complex Litigation, Fourth

approved by the Judicial Conference of the United States, and that

counsel     are   directed    to     familiarize    themselves     with   that

publication.

      (2)   The Clerk is directed to serve this Order to counsel of

record in this matter and all related cases and counsel in any

additional case that may be filed, removed, or transferred hereto

related to the ClassicStar mare lease litigation.
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      This the 23rd day of October, 2007.




                                       2
